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Beth E. Levine, Esq.
Andrew W. Caine, Esq. (admitted pro hac vice)
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777
blevine@pszjlaw.com
acaine@pszjlaw.com

Counsel to Plaintiff, Robert Michaelson, in his capacity as
Trustee of the International Shipholding GUC Trust

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:
                                                                     Chapter 11
INTERNATIONAL SHIPHOLDING
CORPORATION, et al.,1                                                Case No. 16-12220 (SMB)

                                     Debtors.                        (Jointly Administered)

ROBERT MICHAELSON, in his capacity as
TRUSTEE OF THE INTERNATIONAL
SHIPHOLDING GUC TRUST,                                               Adv. Proc. No. 18-01589 (SMB)

                                     Plaintiff,

         v.

BUCK KREIHS MARINE REPAIR L.L.C.,

                                     Defendant.


                        STIPULATION FOR EXTENSION OF TIME TO
                      ANSWER COMPLAINT OR OTHERWISE RESPOND

                                                            
1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
International Shipholding Corporation (9662); Enterprise Ship Co. (9059); Sulphur Carriers, Inc. (8965); Central
Gulf Lines, Inc. (8979); Coastal Carriers, Inc. (6278); Waterman Steamship Corporation (0640); N.W. Johnsen &
Co., Inc. (8006); LMS Shipmanagement, Inc. (0660); U.S. United Ocean Services, LLC (1160); Mary Ann Hudson,
LLC (8478); Sheila McDevitt, LLC (8380); Tower LLC (6755); Frascati Shops, Inc. (7875); Gulf South Shipping
PTE LTD (8628); LCI Shipholdings, Inc. (8094); Dry Bulk Australia LTD (5383); Dry Bulk Americas LTD (6494);
and Marco Shipping Company PTE LTD (4570).  
 


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        Plaintiff and Defendant, each by and through their respective undersigned attorney, hereby

stipulate and agree to extend the time for Defendant to answer, move or otherwise respond to

Plaintiff’s complaint as provided for herein:

        1.       On July 23, 2018, Plaintiff filed a complaint against Defendant.

        2.       The summons was issued by the Clerk’s Office on July 24, 2018.

        3.       On July 24, 2018, Defendant was served with the summons and complaint.

        4.       Defendant does not challenge personal jurisdiction and waives any objection to

service of process of the Summons and Complaint in this adversary proceeding.

        5.       Defendant does not waive any other defenses, objections or challenges which it

may bring in this action other than as expressly stated in the previous paragraph.

        WHEREFORE, the parties agree that the time by which Defendant is required to answer,

move or otherwise respond to the Complaint is hereby further extended through and including

October 24, 2018.




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    Dated: September 24, 2018                         Dated: September 24, 2018

    PACHULSKI STANG ZIEHL & JONES LLP                 SMITH KANE HOLMAN, LLC
    Counsel to Plaintiff, Robert Michaelson, in his   Counsel for Buck Kreihs Marine Repair L.L.C.
    capacity as Trustee of the International
    Shipholding GUC Trust


    By: /s/ Beth E. Levine                            By: /s/ Robert M. Greenbaum
       Beth E. Levine, Esq.                               Robert M. Greenbaum, Esq. (pro hac vice
       Andrew W. Caine, Esq. (admitted                    admission pending)
            pro hac vice)                                 112 Moores Road, Suite 300
       780 Third Avenue, 34th Floor                       Malvern, PA 19355
       New York, NY 10017                                 Telephone: (610) 407-7216
       Tel.: (212) 561-7700                               Facsimile: (610) 407-7218
       Fax: (212) 561-7777                                Email: rgreenbaum@skhlaw.com
       Email: blevine@pszjlaw.com
               acaine@pszjlaw.com




Dated: September 28th, 2018
       New York, New York
                                                /s/ STUART M. BERNSTEIN________
                                                HONORABLE STUART M. BERNSTEIN
                                                UNITED STATES BANKRUPTCY JUDGE




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